
PER CURIAM.
| petitioner successfully passed the Louisiana Bar Examination. However, the Committee on Bar Admissions (“Committee”) advised petitioner that it was unable to certify him for admission to the bar on character and fitness grounds. Specifically, the Committee cited (1) three criminal charges against petitioner, all alcohol-related, as well as a series of traffic violations; (2) petitioner’s failure to disclose relevant information on his law school application; and (3) petitioner’s failure to disclose relevant information on his request to the National Conference of Bar Examiners to prepare a character and fitness report.
Petitioner then applied to this court for admission to the practice of law. We remanded the matter to the - Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation and appointed a commissioner to take character and fitness evidence. Following the *601proceedings, the commissioner filed his re* port with this court, recommending petitioner be conditionally" admitted to the practice of law-. Neither petitioner nor the Committee objected to this' recommendation.
Considering the commissioner’s recommendation, the absence of any objection from the parties, and the entire record of this proceeding, we cohclude petitioner is eligible to be admitted to the practice of law in Louisiana, subject to the following conditions: ' '
|gl. Petitioner shall continue to .comply with the terms of the recovery agreement he signed with the Judges and Lawyers Assistance Program (“JLAP”) on February 10, 2016.
2. The period of this conditional admission shall coincide with the period of petitioner’s-JLAP agreement. However, petitioner’s conditional admission status shall not be terminated until this, court so orders.
3. Petitioner shall authorize the Executive Director of JLAP to report any violations of the JLAP agreement to the Office of Disciplinary Counsel (“ODC”).
4. Upon the expiration, of the term of petitioner’s JLAP agreement, the Executive Director of JLAP shall forward to the ODC (a) a final report of petitioner’s progress and participation in JLAP, and (b) a recommendation regarding the need for petitioner’s continued participation in JLAP.
5. Following receipt of the report from JLAP, the ODC shall file a report in this court in which it shall recommend whether the conditional admission shall be allowed to terminate’ or shall be extended.
6. Petitioner shall cooperate with JLAP and the ODC, and shall comply with any and all requirements imposed upon him by JLAP and the ODC. 1 '
' Should petitioner fail to make a good faith effort to satisfy these conditions, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated dr he may be subjected to other discipline pursuant to the Rules for Lawyer. Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
